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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


   UNITED STATES OF AMERICA                              CR. NO.        II - (/ 'i/O (SPN )

                VS.                                      ORDER FOR INTERIM PAYMENT FOR
                                                         REPRESENTATION OF COUNSEL
                                                         PURSUANT TO THE CRIMINAL
                                                         JUSTICE ACT 18:3006(A)



      Because of the complexity of the case, the expected length of pretrial preparation, the length

   of the trial, and the anticipated hardship of counsel in undertaking representation full-time for

   such a period without compensation, in accordance with section 230.73.10 of the Guidelines for

   the Administration of the Criminal Justice Act, the following procedures for interim payments

   shall apply during the course of your representation in this case:



                                 1. SUBMISSION OF VOUCHERS

      Counsel shall submit to the Court Clerk, once each month, an interim CJA Form io

   "Appointment of and Authority to Pay Court Appointed Counsel". Compensation earned and

   reimbursable expenses incurred from the first to the la:;t day of each month shall be claimed on

   an interim voucher submitted no later than the fifth day of the following month, or in the first

   business day thereafter. The first interim voucher submitted shall reflect all compensation

   claimed and reimbursable expenses incurred from the dale of appointment to       Ha.-l( IS; ;L.o II
              and shall be submitted no later thanJU I'J e.       ~ ;t 0 II          ; thereafter, the

   vouchers shall be submitted once each month according to the schedule outlined above.


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   Each voucher shall be numbered in series in Box 22 and include the time period it covers in Box

   19. All interim vouchers shall be supported by detailed and itemized time and expense

   statements. Chapter 2, Part C of the Guidelines for the Administration of the Criminal Justice

   Act outlines the procedures and rules for claims by CJA attorneys and should be followed

   regarding each voucher.

      The Court will review the interim vouchers when submitted, particularly with regard to the

   amount of time claimed, and will authorize compensation to be paid for four-fifths (80%) of the

   approved number of hours. The Court will also authorize payment for all reimbursable expenses

   reasonably incurred.

      At the conclusion of representation, counsel should submit a final voucher seeking payment of

   the one-fifth (20%) balance withheld from the earlier interim vouchers. The final voucher shall

   be labeled as such in Box 22 and shall set forth in detail the time and expenses claimed for the

   entire case, including all appropriate documentation. After reviewing the final voucher, the

   Court will submit it to the Chief Judge of the Circuit or his or her designee for review and

   approval.



                                 2. REIMBURSABLE EXPENSES

      Counsel may be reimbursed for out-of-pocket expenses reasonably incurred incident to

   representation. While the statute and applicable rules and regulations do not place a monetary

   limit on the amount of expenses that can be incurred, counsel should incur no single expense

   item in excess of $800 without PRIOR approval of the Court. Such approval may be sought by

   submitting the CJA 21 to the Clerk with supporting documentation attached if deemed necessary,


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   stating the nature of the expense, the estimated dollar cost and the reason the expense is

   necessary to the representation. An application seeking such' approval may be filed in camera, if

   necessary. Upon finding that the expense is reasonable, the Court will authorize counsel to incur

   it. Recurring expenses, such as telephone calls, photocopying and photographs, which aggregate

   more than $800 on one or more interim vouchers are not considered single expenses requiring

   Court approval.
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      With respect to travel outside of the city-county-state for the purpose of consulting with the

   client or his or her former counsel, interviewing witnesses, etc., the $800 rule should be applied

   in the following manner. Travel expenses, such as, mileage, parking fees, meals and lodging, can

   be claimed as itemized expenses. Therefore, if the reimbursement for expenses relating to a

   single trip will aggregate an amount in excess of $800, the travel should receive PRIOR

   authorization of the Court. The following additional guidelines may be helpful:

      (a) Case related travel by privately owned automobile should be claimed per mile at the

   applicable rate (check with the Clerk's office for current rates) , plus parking fees, ferry fees, and

   bridge, road and tunnel tolls. Transportation other than by privately owned automobile should be

   claimed on an actual expense basis. If travel is authorized, arrangements can be made at

   Government rates through Omega World Travel. Please contact the C.J .A. administrator in the

   Clerk's office for additional guidance. Air travel in "first class" is prohibited.

      (b) Actual expenses incurred for meals and lodging while traveling during the course of

   representation must conform to the prevailing limitations placed upon travel and subsistence

   expenses of federal judiciary employees in accordance with existing government travel

   regulations. For specific details concerning high-cost areas, counsel should consult the Clerk.


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      (c) Telephone toll calls, telegrams, photocopying and photographs can all be reimbursable

   expenses if reasonably incurred. However, general office overhead, such as rent,

   secretarial help and telephone service, is not a reimbursable expense, nor are items of a personal

   nature. In addition, expenses for services of subpoenas on fact witnesses are not reimbursable,

   but rather are governed by Rule 17 F.R.Crim.P. and 28 U.S.C.§1825.




                            3. FURTHER QUESTIONS OR GUIDANCE

      Answers to questions concerning services under the Criminal Justice Act, can generally be

   found in (1) 18 U.S.C. 3006(A); (2) the Plan of the United States District Court for the District of

   New Jersey; (3) Appendix I to the Criminal Justice Act Plan; and (4) Guidelines for the

   Administration of the Criminal Justice Act, published by the Administrative Office of the U.S.

   Courts. Should these references fail to provide the desired clarification or direction, counsel is

   directed to contact the Clerk's office, specifically, Anna Conn    , CJA Administrator at




                                              APPROVED


   DATE:~(Y_to_'-_I_'__                             -r:1L£ V~
                                                 THOMAS I. V ANASKIE, JUDGE
                                                 UNITED STATES COURT OF APPEALS
                                                 FOR THE THIRD CIRCUIT


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